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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL MDL NO. 2179

BY THE OIL RIG

"DEEPWATER HORIZON" SECTION: J

IN THE GULF OF

MEXICO, ON JUDGE BARBIER
APRIL 20, 2010 MAG. JUDGE SHUSHAN

VOLUME 1

Deposition of MATTHEW JOHN LUCAS, 501
Westlake Park Boulevard, Houston, Texas
77210, taken in the Pan American Life Center,
Bayou Room, llth Floor, 601 Poydras Street,
New Orleans, Louisiana 70130, reported on

Thursday, February 24th, 2011.

GAUDET, KAISER, L.L.C.

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A. Yes, you're correct. But I
think this sentence is saying something else.

Q. Well, yes, I wanted to ask you
something, they use the term "Systemic
causes." What does that mean to you?

A. Systemic causes that are at a
deeper level than immediate and system
causes.

Q. Okay. And did your team
investigate systemic causes of the DEEPWATER
HORIZON disaster?

A. No.

Q. And that's because the terms of
reference said you didn't have to?

A. That's correct.

Q. And do you know why your terms
of reference excluded systemic causes?

A. No.

Q. Would you as the global head of
root cause analysis investigations, had you
been designing the terms of reference, would
you have considered going further down the
line and investigating possible systemic
causes?

A. I would have considered it, yes.

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Q. Okay. Did you give any input
into, or ask any questions why we're not
going further and investigating possible
systemic causes?

A. Yes.

Q. Who did you ask about that?

A. Mr. Bly.

Q. And how did you -- tell me about

that conversation.

A. I told him that there was a
difference between our group defined practice
and the terms of reference that we had been
given and that we needed to close that gap,
either to come up with an exception to that,
exception to the GDP, or to go through to
Systemic root causes, one of the two to close
the gap.

Q. Okay. So you had a group
defined practice; correct?

A. Correct.

Q. And that group defined practice

said that you should investigate systemic

causes?
A. Correct.
Q. And you saw the terms of

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reference, it said you should not?

A. Right.

Q. So you bring that to Mr. Bly,
and you say, "Look, either we investigate
systemic causes in accordance with the GDP or

we get an exception to the GDP"?

A. Correct.
Q. And what did Mr. Bly say?
A. He said a few things. He said

it wasn't certain what evidence was going to
be available and whether there would be
enough evidence available to get to that deep
of a level, and he also asked me to discuss
it with counsel.

Q. What did he mean by he wasn't
Sure that there would be enough evidence to
get that deep into it?

A. That -- well, some examples
would be the people that we needed to
interview were not available and some of the
mechanical equipment and parts and evidence
that we're going to have, we're going to be
extremely limited.

Q. Okay. Who did you need to

interview to get to the systemic causes that

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you couldn't interview?
A. I don't know.
Q. Without naming names, would you

give me some categories of people you would
think likely to interview if you were
investigating systemic problems in the
organization?

A. Transocean, Halliburton.

Q. So you're talking about their
Systemic causes, their systemic problems,
right, Transocean's and Halliburton's?

MS. KALIS:
Object to form.
THE WITNESS:

Systemic issues can involve all,
some, combinations, and this rig was operated
by multiple entities, so you need to look at
it on a holistic level. We had access to
some of our people, but we didn't have access
to others.

EXAMINATION BY MR. DART:

Q. You could have investigated
systemic problems within the BP Organization;
couldn't you?

MS. KALIS:

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Object to form.
THE WITNESS:
If the evidence was available.

EXAMINATION BY MR. DART:

Q. What evidence would not have
been available to investigate organizational
management problems within BP?

A. Yeah, again, you know -- I don't
think-- I think what I would want to refer
back to is -~ in our terms of reference it
was determined to get an exception and to
investigate according to the terms of
reference.

Q. All right. That's fine, please
answer my question. What evidence was not
available to you to have conducted a systemic

investigation of BP's organizational

structure?
A. I can't tell you that.
Q. You can't?
A. No.
Q. Why not?
A. Because when you do an

investigation, you work down into

successively deeper and deeper areas and

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until you go -- without drilling down, you
don't know what it is that's going to be
three layers deep without working your way
down.

Q. That's fine. So how could you
know in the beginning whether there would not
be sufficient evidence with which to do a
systemic investigation if you don't know what
evidence you're going to need?

A. We didn't know.

Q. So why did you decide in
advance, or why did Mr. Bly decide in advance
that there wasn't enough evidence, when he
didn't know what evidence you needed?

MS. KALIS:
Object to form.

EXAMINATION BY MR. DART:

Q. Can you answer that?

A. No, I can't put myself in the
shoes of Mr. Bly.

Q. Did you ask him, what are you
Saying, Mark?

A. I -- I think I have that answer
already, that he told me we would wait and

see what evidence would come up, but then we

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decided, well, we should get an exception in
place anyway.
Q. And who decided that the
exception should be obtained?
A. Mr. Bly.
Q. Mr. Bly. And he decided that
based on what?
MS. KALIS:
Object to form.
THE WITNESS:
I can't say how he based his
decision.

EXAMINATION BY MR. DART:

Q. Did he ever tell you?

A. No, not beyond what I've already
told you.

Q. Okay. So in answer to your

query to him, "Do we follow the GDP or do we
follow the terms of reference?"

He said, "I'm getting an
exception, we're going to follow the terms of
reference"; right?

A. Yes.
Q. And he got the exception;

correct?

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A. The exception was granted, so I
have to look at the sheet -- yes.
Q. Who did he apply to for this

exception and who granted it?
MS. KALIS:
Object to form.
THE WITNESS:
I would have to look at that sheet
again, wherever it was.
EXAMINATION BY MR. DART:
Q. What sheet?
A. The exception. I would have to
look at the exception itself.
Q. Where is that? I don't know
what you're talking about.
MS. KALIS:
Object to form.
EXAMINATION BY MR. DART:
Q. What exception are you referring
to? You saw a document?
A. The exception to the GDP.
Q. Where -- is that an exhibit you
Saw today?
A. No.

Q. Where did you see the exception

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THE WITNESS:

There was a difference between what
we normally do on an investigation and this
investigation.

EXAMINATION BY MR. DART:

Q. Right. But for the terms of
reference, you as the head investigator -- or
as an investigator would have investigated
Systemic causes, correct, pursuant to the
GDP?

A. Under normal circumstances, yes.

Q. Right. And that would have
applied in the DEEPWATER HORIZON case were it
not for the terms of reference; correct?

MS. KALIS:
Object to form.
THE WITNESS:

That, I don't know.

EXAMINATION BY MR. DART:

Q. Isn't that what the GDP tells
you to do?

A. Yes.

Q. Okay. You would have at least
looked into it?

A. Yes.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL MDL NO. 2179

BY THE OIL RIG

"DEEPWATER HORIZON" SECTION: J

IN THE GULF OF

MEXICO, ON APRIL JUDGE BARBIER

20, 2010 MAG. JUDGE SHUSHAN

Deposition of KEVIN FONTENOT, taken
in the Pan American Life Center, Bayou
Room, lith Floor, 601 Poydras Street, New
Orleans, Louisiana 70130, on Thursday,
January 20, 2011.

APPEARANCES:

ON BEHALF OF THE PLAINTIFFS

STEERING COMMITTEE:

LEWIS, KULLMAN, STERBCOW

& ABRAMSON

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(By: Robert T. Cunningham, Esquire,
(Pro Hac Vice) and William E.

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folks, the process hazard analysis folks in
the building of this Fault Tree that you

designed, I guess?

A. Yes, sir.

Q. You did?

A. (Witness nods head).

Q. And in what way did you interact

with those people?

A. The same as with the rest. I
would facilitate a discussion around the
Fault Tree and the organization of the
Fault Tree.

Q. Okay. And was it ever suggested
to you that process hazard problems, or
process safety problems were a contributing
factor to this incident?

A. I don't recall that discussion.

Q. Right. Because if you would
have had that discussion, you would have
put that as one of the main factors that
you would then develop a Fault Tree;
correct?

A. It depends on if it was, if the
facts played it out, yes, sir.

Q. Sure. Let's talk about root

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Q. He did not? Okay. Did
Mr. Erick Cunningham ever say anything to
you that led you to believe that the
cement, alleged cement failure should have
been included in any Fault Tree Analysis?

A. No. We did not discuss Fault
Tree Analysis with Mr. Cunningham.

Q. Did Mr. Erick Cunningham, sir,
ever say anything that led you to conclude
that you should have included cement
failure in a Fault Tree Analysis? Whether
he requested it be put in or not, did he
ever say anything that led you to believe
that it ought to be included, those words?

A. I didn't make a conclusion one
way or the other whether cement should or
should not have been included.

Q. Thank you, sir.

Now, you have there this
document, I'll just show it to you, to help
you.

A. Okay.

Q. You have that one and it's
marked BP HZN BLY 00080588.

You have that, sir?

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A. Yes, Sir. I do.

MS. KARIS:

And Mr. Godwin, the same thing.
Since this one does not appear to have an
original Bates number label on it, I'll
accept the representation, I'll state for
the record that the subject of this at the
top says subject matter experts, just to
make sure we have the same documents when
we go back.

MR. GODWIN:

It is. It is. And this is
going to be Exhibit No. 15.

(Whereupon, the document
referred to was marked as Exhibit No. 15
for identification.)
EXAMINATION BY MR. GODWIN:

Q. You have before you there what I
have marked as Exhibit 15?

A. Yes, sir.

Q. And this is a document I'll
represent we did receive from BP in
connection with document production. And
it says subject matter experts, incident

team members, and it has several people

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there listed with BP; does it not, on the
left-hand side?

A. It says -- yes, sir. I see
company, BP.

Q. Okay, Sir. And it has a number
of others there down below with Baker Risk,
house -~- Hose International, Boots-n-Coots,

Boots-n-Coots and Add Energy; does it not?

A. Yes, sir. It does.
Q. And if you will look at the
position and title and there's -- subject

matter experts are listed for a number of
different specialties, if you will.

But there's nothing listed there
insofar as BP as of the writing of this

document having a cementing expert; is

there?
A. I don't see that on here.
Q. Thank you, sir.

Now, I'm going to hand you what
I've marked here as Exhibit 16.

(Whereupon, the document
referred to was marked as Exhibit No. 16
for identification.)

EXAMINATION BY MR. GODWIN:

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Executive Summary

Executive Summary

Qn the evening of April 20, 2010, a well control event allowed: hydrocarbons.to escape frorn the
Macorido well onto Transocean’s Deepwater Horizon, resulting in explosions and fire on-the rig.
Eleven people lost their lives, and 17 others were injured; The fire, which was fed by hydrocarbons
from the well, continued for 36 hours until the rig-sank. Hydrocarbons continued to. flow: from the:
reservoir through the wellbore and the blowout preventer (BOP) for 87 days, causiriga Spill of
national significance.

BP Exploration & Production Inc. was the. lease operator of Mississippi Canyon: Block 252, which
contains the Maconde well ‘BP formed an in wastigation. a é mn that was charg sd ' th gathering

testimony ‘ror wublig hearings T The te:
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cialists from a variety. of fie! sk safety.
operations, subsea, drilling, well control, cementing well flow dynarnic modeling, BOP systems.
and process hazard analysis.

This report presents an analysis of the events leading up to the-accident, eight key findings related
to the causal chain of events and recommendations to enable the prevention of a similar accident.
The investigation team worked separately from any investigation conducted by other companies
involved in the.accident, and it.did not review ‘its analyses, conclusions-or recommendations.

with any other company or investigation team. Also, at the t teport was written, other
investigations, such as the U.S. Coast Guard and Bureau of Ocean: Energy Management,
Regulation.and Enforcement Joint Investigation and the President's National Commission

were ongoing. While the understanding of this accident will-continue to develop with time, the
information in this report:can sapport learning and the prevention of a recurrence.

The accident on April 20, 2010, involved a well integrity failute, followed by aloss of hydrostatic

control of the well. This was followed by’ Tailure to control the flow from the well with the BOP
equipment, which allowed the release and subsequent ignition of hydrocarbons. Ultimately, the
BOP emergency functions failed to seal the well after the initial explosions.

During the course of the investigation, the team used fault tree analysis to define and consider
various scenarios, failure modes and possible contributing factors.

Deepyater Horizan Accident investigation Report 9

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Execitive Summary

The investigation team developed a series.of recommendations to. address:each of its key findings,
and these. recommendations are presented in this report. (Refer to Section 6. Investigation
Recommendations.) The recommendations are intended to enable prevention of similar accidents
in the future, and in'some cases, they address issues beyond the causal findi ngs for this accident.
These Feeernmendiations cover sontractar oversight and assurance, risk, assessment, well

|

Finally. given thé. compléx.and interlinkéd nature: ofthis accident,.it may be appropriate to further
consider its broader industry implications,

Figure 1. Macondo Well.

1 Deepwater Harlzon Aecider: investigaten Report

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY MDL NO. 2179

THE OIL RIG

"DEEPWATER HORIZON" SECTION: J

IN THE GULF OF

MEXICO, ON APRIL 20, JUDGE BARBIER

2010 MAG. JUDGE SHUSHAN

VOLUME 2

Deposition of MARK ROBERT BLY, 501
Westlake Park Boulevard, Houston, Texas
77210, taken in the Pan American Life Center,

Louisiana, on Friday, February 18, 2011.

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I think that's been provided,
and I think it's probably on the second page
there.

Okay. The -- Let me ask you --
There was a lot of discussion yesterday about
this issue of the cementing and how the
cement was tested and other things.

Tell me a little bit about your
team as it relates to that particular issue.
Who was the expert here that was --

A. So Kent Corser in terms of the
team leads.
Q. Okay. And what was his -- He

was responsible for engineering issues?

A. Yeah. We broadly called it
engineering, and so that -- that captured
that -- everything to do with cementing,

cement placement, you know, the float
equipment. All that part of the
investigation was under Kent's purview.
Q. Can you tell me, since you know
a little bit, about Mr. Corser's background?
A. I know he's -- he's spent his
career in drilling. I think he's an

exceptionally good drilling engineer --

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Q. Okay. What --

A. ~- someone who I trust.

Q. Would you consider him to be one
of BP's cementing experts?

A. I wouldn't call him a cementing
expert. He's a general drilling engineer.

Q. Okay.

A. And, now, I think that means

he'll have a pretty good sense of cementing,
because that's a -- you know, that's part of
drilling engineering, but as a -- a cementing
technical expert, I don't think I would
describe him that way.

Q. Was -- Does BP have cementing
experts in-house, people who you would
consider --

A. A few, yeah.

Q. Okay.

Were any of them involved in
working with Mr. Corser in this
investigation?

A. I think they were interviewed as
part of the investigation. They -- I don't
believe they were directly involved on the

team.

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Q. They were involved in terms
of -- How do we say it? -- participating in
any of the technical discussions? Would they
have done that?

A. It would have been in the form
of being interviewed as part of the
investigation as opposed to being on the
team.

Q. So more of an interview as --

A. Yeah.

Q. -- as opposed to
participating -- or participating in any of
the technical conclusions. They wouldn't
have been at the table for those?

A. No. No. That's right. They --
They would have been interviewed, but the
conclusions would have been drawn by Kent
Corser's team with -- with input from the
experts that he brought together.

Q. Why didn't BP have someone at
the table on the team who was an expert in
cement? Can you tell me why you would have
left that person out or that particular
piece?

A. Well, I mean Ke -- you know, as

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I said, Kent's a good general guy, and when
we realized what we -- general eng --
drilling engineering, when we realized what
kind of specialist input we wanted, it just
made sense to go out and get the best we
could get in the industry.

Q. And who was that that you went
out to get?

A. The company called CSI.

Q. CSI. Okay.

As you sit here today, if you

can answer this, knowing what you know now,

how would you change the report?

A. I -- I wouldn't change it.
Q. You're comfortable with it now,
with no additions. If you could go back and

say, "Now I know something different," would
you add anything else to it?

A. I wouldn't. I mean I think
it -- You know, what was delivered on the 8th

of September, I think, was a good product

then, and I've -- I haven't seen anything
that counter -- you know, changes the views
of this. In fact, anything I've seen

strengthens a couple of things that we were

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01-37309
PW

IN RE: OIL SPILL by the OIL RIG
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on

APRIL 20, 2010

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

) MDL NO. 2179
SECTION: J

JUDGE BARBIER

MAG. JUDGE SHUSHAN

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Q. Sure.

A. Such a tiny, small zone. We
decide to highlight it, as a probable gas.

Q. Okay. So as I understand it, on
April 13th you told Mr. Bodek the shallowest
hydrocarbon sand is 17,803 feet. After you
got back to the office and you looked at the
logs more closely you-all highlighted and
determined at 17,487 there was probable gas,
right?

MR. LANCASTER: Object to form.

A. Based on the data I had on the
rig --

Q. (BY MR. WATTS) Okay.

A. -- this 17 -- this 17,803 sand

is the hydrocarbon zone I sent in that
e-mail.

QO. Sure, I know that. But the
point is is after you sent that e-mail you
came back to the office, you looked at the
log, and determined that it was probably,
because you highlighted it, that there was
2 feet of gas at 17,467 feet?

MR. LANCASTER: Object to form.

A. There was more data available

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and more people in the room. We decided

to -- to highlight the zone as a possible
hydrocarbon -- possible gas bearing zone.
Q. (BY MR. WATTS) Okay. So here's

my question: When was this more data
available such that this analysis which
caused you-all to highlight as a probable
hydrocarbon zone, the one at 14,467, when was
that analysis done?

A. The analysis was done the day of

the incident.

Q. The day of the incident?

A. Yes.

Q. After the cement job was done,
right?

A. Yes.

Q. Okay. You are aware from the

e-mails, if not from other, that there are
MMS regulations as to where the top of cement
needs to be located relative to the
shallowest hydrocarbon-bearing sand, right?

A. As I know from MMS regulations,
it's 500 above the shallowest
hydrocarbon-bearing zone.

Q. Okay. So do you believe that BP

PURSUANT TO CONFIDENTIALITY ORDER

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feet, correct?

A. Yes.
Q. All right. All right.
Yesterday you touched briefly on a -- ona

conclusion that was reached on April 20th
wherein I believe you testified that various
other petrophysicists and other people
determined that -- that the determination of
the location of the most shallow hydrocarbon
sand was different than what was originally
determined on April 13th, I believe; is that
right?

MR. LANCASTER: Object to form.

A. Yes, that...
Q. (BY MR. THIBODEAUX) My only
question about that is did you -- did you

inform the Macondo drilling engineers that
a —-- a shallower hydrocarbon sand was
identified?

A. That change was done after
the -- the date after the incident. So
the -- we did these permeable zones and we
gave it to -- I -- I don't know exactly.
There were several people asking for the

information about the possible permeable

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petrophysicists. It's a very uncertain
evaluation highlighted to make sure that
there is civility, we called it gas.

Q. Okay. We'll talk about that. I
guess what I really want to know is right
now, it is BP's considered judgment after
relying on the experience, opinions of its
own engineers, that the sand named M57B is a
gas-bearing sand, correct?

MR. LANCASTER: Objection; form.

MR. MONICO: Objection; form.

A. I can't talk for BP. I can talk
about myself.

Q. (BY MR. HILL) Is it your
understanding that the M56B is a gas-bearing
sand?

MR. LANCASTER: Object to form.

A. It's probable gas.

Q. (BY MR. HILL) Probable gas.

A. Likely -- it's probable gas.

Q. So when you say "probable gas,"

it is a formation that we need to assume is
hydrocarbon-bearing?
MR. LANCASTER: Object to form.

A. There is a high uncertainty in

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evaluation of this sand. Looking -- if I
recall back when I didn't call it sand, back

to the rig, I would still want to call it

because I think -- I think it was wet.

Q. (BY MR. HILL) Okay. Well, let
me --

A. And then looking at the

analysis, why it changed, because later so
when we highlighted it as a -- as a gas sand,

as a group, right. So that input went to

all -- to all other groups of people working
on the -- why -- why it happened, what caused
it.

But then after we received the
analysis of -- of all the sands within the
last open hole section done by Schlumberger

and BLAN it kind of confirms my understanding

what I was thinking on -- on the rig.
Q. And what was your under- --
A. And why I called it -- I didn't

call it hydrocarbon bearing.

Q. What -- what did it -- what did
it confirm, to your understanding?

A. It confirmed that that

resistivity elevated -- relatively elevated

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hydrocarbon bearing?

A. No.

Q. | So yesterday when you said that
there was a determination that it was and
that determination was made by the date of
the. incident, what were you referring to?

A. I was referring to the data
after the incident. I probably kind of
didn't made it clear. So the first -- when I
came back from -- from the rig and started
working with the -- with the logs, I didn't
work with that sand. My focus was on the --
on the evaluating of production sands.

And so after the incident
happened, next day we had this meeting with
other petrophysicists in the room looking at
the big screen, and that's where it was
highlighted. So...

QO. In that meeting after the
incident, what data was available to that
room that wasn't available to you
pre-incident?

A. The data -- first -- there were
several factors. First of all --

Q. Please answer my question. I

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asked you what data was available.
MR. LANCASTER: Again, you can answer

the question as you need to answer the

question.
I would respectfully ask counsel
to stop interrupting the witness. It's rude.
A. There were much more detail

available right at that time. For the
analysis with other petrophysicists, we used
process only data, we looked at CMR data all
together, and triple combo -- final version
of triple combo. And I'm not saying that all
of that were contributed into our
considerations and our discussion, like --
like, for instance, CMR data did not
contribute much into -- into helping. Or,
for instance, sonic data, we looked at that.
But, unfortunately, it was below the
resolution of the sonic tool to get much
more information about that.

But since it was on the big
screen, we zoomed in into depths and into
scale, which we did see that neutron density,
there was 2-foot sand and they actually do

form one data point crossover.

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Q. (BY MR. HILL) Okay.
A. So there were more people in the
room looking at that, so -- I didn't see the

crossover on the rig because it doesn't look

like that.

Q. Okay.

A. It looks like touch.

Q. Okay. So -- I'm sorry, are you
done?

A. So those factors. So we did

look at the mud data, that's for sure, but it
did not contribute into the analysis.

Q. Okay. So to be clear, the data
that you looked at post-incident was
basically the same data that was provided by
Schlumberger on the wireline loggings
pre-incident; you just looked at it a little

closer, right?

A. No. There was --
Q. What changed?
A. There was -- there was CMR data

available at that point and plotted together,
is triple combo, was sonic data available at
that point, put together. There was triple

combo. There was the OBMI data available put

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together. So there was a big --

Q. Okay.

A. -- plot-out on the big screen
looking into the detail in every sand.

Q. Okay.

A. That's how it was. So I'm not
saying everything is contributed to it. So
my biggest expectation would be sonic, but it
was below the resolution. So -- and it was
the opinion in the room, it was very
difficult to identify the saturation of this
sand to highlight uncertainty respecting the
crossover be- -- with the sand.

QO. Now, so that the record's clear
and so that the Court understands, when I
asked you earlier about the triple combo log,
one of the things I asked you about was the
density neutron crossover, right? That's the
crossover you're talking about right now?

A. I am talking about the crossover
on the density neutron log, yes.

Q. And you're -- and I think I
understand your testimony to be that
post-incident, when you guys looked a little

bit close -- when you and your group or

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